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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

       v.                                    Criminal No. 22-cr-00015-APM

ELMER STEWART RHODES, et al,

                    Defendant.



         MOTION TO SEVER CASE FROM CODEFENDANTS OR,
           IN THE ALTERNATIVE, TO PLACE RHODES IN
                THE NOVEMBER 10 TRIAL GROUP

      NOW comes Defendant, ELMER STEWART RHODES III (“Rhodes”), by

and through undersigned counsel, and respectfully moves this honorable Court for

an order severing Rhodes’ case and trial from the trials of Rhodes’ nine

codefendants. Rhodes requests a stand-alone trial, due to the stark differences in

fundamental facts as well as trial preparation between himself and his codefendants

(discussed below). But in the alternative, Rhodes requests to be tried along with

the November 10 trial group in case 21-cr-28-APM.




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      Counsel has informed the Assistant US Attorneys of this motion; and they

are opposed.




Dated: September 12, 2022

                                       Respectfully Submitted,
                                       /s/ Edward L. Tarpley Jr.
                                       _____________________________
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                                       Elmer Stewart Rhodes III




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                         CERTIFICATE OF SERVICE

       I hereby certify that this document is being filed on this September 6, 2022,
with the Clerk of the Court by using the U.S. District Court for the District of
Columbia’s CM/ECF system, which will send an electronic copy of to the
following CM/ECF participants. From my review of the PACER account for this
case the following attorneys are enrolled to receive notice and a copy through the
ECF system.

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